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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


 CONSUMER FINANCIAL PROTECTION
 BUREAU, et al.

                       Plaintiffs,                  Case No. 24-cv-00040-EAW-MJR

vs.

 STRATFS, LLC f/k/a STRATEGIC
 FINANCIAL SOLUTIONS, LLC, et al.

                       Defendants, and

 DANIEL BLUMKIN, et al.,

                       Relief Defendants.


             [PROPOSED] ORDER HOLDING INTERVENOR LAW FIRMS
                   IN CIVIL CONTEMPT AND OTHER RELIEF



        WHEREAS, having considered the Receiver’s Emergency Motion for an Order to Show

Cause Why Intervenor Law Firms Should Not be Held in Civil Contempt, the Declaration of

Joseph O’Donnell, the Intervenor Law Firms’ opposition, the Receiver’s reply, and having held

an evidentiary hearing, the Court finds good cause, and so

        IT IS HEREBY ORDERED that the Intervenor Law Firms are held in civil contempt

until they comply with the Court’s oral instructions at the April 22, 2024 hearing regarding

communications with consumers;

        IT IS FURTHER ORDERED that each of the Intervenor Law Firms listed on the docket

in the above-captioned case shall pay to the Receivership Estate a sanction of $1,000 per day

until the contempt is purged; and




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        IT IS FURTHER ORDERED that the Receiver shall be permitted to submit a petition for

his fees and costs in connection with the proceedings related to this Order, which the Court will

consider at a later date.



        IT IS SO ORDERED, this ____ day of ____________________, 2024.




                                             HONORABLE MICHAEL J. ROEMER
                                             UNITED STATES MAGISTRATE JUDGE




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